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                               Office of the Clerk
             United States District Court Western District of Wisconsin
                120 North Henry Street, Room 320  Madison, WI 53703
                      (608) 264-5156  www.wiwd.uscourts.gov


                                      May 13, 2019

Warden
Green Bay Correctional Institution
P.O. Box 19033
Green Bay, WI 54307-9033

       Re: Case no. 18-cv-593-wmc; Gibson, Johnny v. Boughton, Gary et al


Dear Warden:

      Please find enclosed an order entered on May 13, 2019 by District Judge William
M. Conley granting a stay of future payments of the $400 filing fee in case 18-cv-593-wmc
from plaintiff Johnny Gibson.

        Please stop collecting the payments for this case. If you have any questions, please
call the clerk’s office at (608) 264-5156 and press #1.

                       Inmate Name: Johnny Gibson, #385510
                              Case No. 18-cv-593-wmc


                                   PETER OPPENEER, Clerk of Court,


                                   By: ___s/____________
                                       Deputy Clerk




cc: Johnny Gibson
